                           UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                            DOCKET NO. 3:11-cr-00288-MOC

UNITED STATES OF AMERICA,                       )
                                                )
                                                )
                                                )
Vs.                                             )                        ORDER
                                                )
LUIS FERNANDO GONZALES,                         )
                                                )
                Defendant(s).                   )



       THIS MATTER is before the court on the Order of limited remand following an

indicative ruling by this court. United States v. Gonzales, No. 13-4058 (4th Cir. March 13,

2013). In that Order, the Court of Appeals for the Fourth Circuit remanded this “case to the

district court for the limited purpose of ruling on the defendant’s motion to reconsider.” Id. at 2.

       The court will, therefore, calendar defendant’s Motion to Reconsider, which is implicitly

contained within his Motion for Indicative Ruling (#73). To recap, on November 27, 2012, this

court sentenced defendant at Offense Level 28 and Criminal History Category II to 87 months

imprisonment, which was at the low end of the advisory guidelines range. Judgment was entered

January 17, 2013, and defendant promptly filed a Notice of Appeal. Defendant contends that six

days after judgment was entered, the North Carolina General Court of Justice, District Court

Division, vacated a conviction which had moved his Criminal History from Category I to

Category II. Defendant argues that such now-vacated conviction not only elevated the advisory

guidelines range, it also prevented application of the safety-valve provisions         found under

U.S.S.G. §5C1.2. The parties are advised that if the court grants the Motion to Reconsider at

such hearing, it plans to move immediately into resentencing unless good reasons can be shown



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for scheduling such proceeding for a later date. See United States v. Pettiford, 612 F.3d 270 (4th

Cir. 2010).

                                          ORDER

        IT IS, THEREFORE, ORDERED that defendant’s Motion to Reconsider, contained

within the Motion for Indicative Ruling (#73), is CALENDARED for hearing on March 28,

2013, at 11 a.m.




    Signed: March 18, 2013




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